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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                           )
                                                 )                   CHAPTER 7
Melvin Leonard Wimmer, Jr.                       )
                                                 )              Case No. 17-03751-dd
                           Debtor.               )
__________________________________               )

   ORDER AUTHORIZING APPLICATION FOR SALE OF PROPERTY FREE AND
                         CLEAR OF LIENS

        This matter comes before me upon the Motion for Sale of Property Free and Clear of
Liens filed on December 5, 2018 by John K. Fort as Trustee, seeking approval from the Court of
the private sale to Joyce Hughston of 945 Eagles Harbor Drive, Hodges, SC 29653 with the
following property description:

         All that certain piece, parcel or lot of land, situate, lying and being in the County
         of Greenwood, State of South Carolina, being shown and designated as Lot 149 of
         Eagle’s Harbor Subdivision, Phase II and more accurately shown on plat by
         Newby-Proctor & Assoc. Land Surveyors, dated October 19, 1998, and recorded
         in the OCC for Greenwood County in Plat Book 113 at Page 85 and incorporated
         herein by reference and subject to the Declaration of Restrictive Covenants of
         Eagle’s Harbor Subdivision and Declaration of Restrictive Covenants, Conditions,
         and Restrictions of Eagle’s Harbor Subdivision.

         ALSO: All that certain piece, parcel or lot of land situate, lying and being in the
         County of Greenwood, State of South Carolina, being shown and designated as
         Lot 149A of Eagle’s Harbor Subdivision, Phase II, and more accurately shown on
         plat by Newby-Proctor & Assoc., Land Surveyors, dated October 19, 1988, and
         recorded in the Office of the Clerk of Court for Greenwood County in Plat Book
         113, at Page 85. For a more full and accurate description reference is hereby
         specifically made to the aforementioned plat.

         This is the same property conveyed to Joyce Hughston by deed of Stanley A.
         Hart, Trustee and Mary C. Hart, Successor Trustee of the Declaration of Trust of
         Stanley A. Hart, dated August 2, 2001, deed dated January 13, 2006 and recorded
         in the Office of the Clerk of Court for Greenwood County in Deed Book 952, at
         Page 171. Also, this is a portion of the same property conveyed to M. Lee
         Wimmer, Jr. by deed of Joyce Hughston dated February 21, 2016 and recorded
         June 30, 2016 in the Office of the Clerk of Court for Greenwood County in Deed
         Book 1529 at Page 171.
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        The Court has been informed that all Creditors and Parties-in-Interest have been noticed
of the terms of this sale and that no objections have been filed with the Court. I, therefore, find
that good cause has been shown and accordingly,

       It is hereby ORDERED, ADJUDGED, AND DECREED that the terms of sale be and
hereby are approved and shall be the Order of the Court.
